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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

TAWAINNA ANDERSON,                           :
             Plaintiff,                      :
                                             :
          v.                                 :                 Civ. No. 22-1849
                                             :
TIKTOK, INC., et al.,                        :
                   Defendants.               :

                                         ORDER

       AND NOW, this 25th day of October, 2022, upon consideration of Defendants’ Motion to

Dismiss (Doc. No. 12), Plaintiff’s Response (Doc. No. 17), Defendants’ Reply (Doc. No. 21),

Plaintiff’s Sur-Reply (Doc No. 22), and all related submissions, it is hereby ORDERED that

Defendants’ Motion is GRANTED.




                                                        AND IT IS SO ORDERED.
                                                         /s/ Paul S. Diamond
                                                        _________________________

                                                        Paul S. Diamond, J.
